        Name: Leo Belda | DOB: 5/17/2023 | MRN: 4116413 | PCP: Mindy L Calandro, MD | Legal Name: Leo Belda




Appointment Details (Leo)

                    MRI BRAIN WO CONTRAST W SED
  Wednesday December 18, 2024
  8:00 AM CST
      Add to calendar

  OUR LADY OF THE LAKE CHILDREN'S HOSPITAL - MRI
  8300 Constantin Blvd
  BATON ROUGE LA 70809-3489
  ‪225-374-1454‬


Prepare for Your Visit
Want an earlier time? Get on the Wait List
All questionnaires for this appointment will be available for
you to answer on Wednesday December 11, 2024.




                         Cancel appointment




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